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  UNITED STATES BANKRUPTCY COURT
  EASTERN DISTRICT OF PENNSYLVANIA
  In re                                                         Chapter 11
                                                                Case No. 22-10609 (AMC)
  SCUNGIO BORST & ASSOCIATES, LLC,

                               Debtor.

             DECLARATION IN SUPPORT OF MOTION FOR AN ORDER
              GRANTING RELIEF FROM THE AUTOMATIC STAY AND
              PERMITTING ACTION TO PROCEED IN STATE COURT
       DAVID TOLCHIN states the following to be true pursuant to 28 U.S.C. § 1746:

       1.     I am an attorney licensed to practice law in the State of New York, and have an

application pending for admission pro hac vice to this Court. I am an associate of Jaroslawicz &

Jaros PLLC, counsel for the movant Hasan Tahiraj (“Plaintiff or “Movant”).

       2.     The following exhibits are submitted in support of Plaintiff’s motion:

               Exhibit A    Discloser of Insurance Policy by Debtor’s pre-petition insurance-
                              appointed counsel in the State Court Action.
               Exhibit B    Summons and Complaint filed pre-petition against Debtor in the
                              Tahiraj v. Brooklyn Kings Plaza LLC, et al., Index No.
                              513231/2016, New York State Supreme Court, Kings County (the
                              “State Court Action”)
               Exhibit C    Debtor’s Answer in the State Court Action, filed by its pre-petition
                              insurance-appointed counsel
               Exhibit D    Order remanding the State Court Action back to State Court a yar after
                              it was removed to E.D.N.Y.
               Exhibit E    Order consolidated two other actions into the State Court Action.


Dated: April 11, 2022                       JAROSLAWICZ & JAROS PLLC


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